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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION


AMANDA MILLSAP                                                          PLAINTIFF


VS.                              No. 3:19-cv-00338 PSH


ANDREW SAUL, Commissioner,
    Social Security Administration                                    DEFENDANT


                                   JUDGMENT

       Pursuant to the Order filed in this matter this date, this case is dismissed with

prejudice.

       IT IS SO ORDERED this 16th day of October, 2020.



                                         UNITED STATES MAGISTRATE JUDGE
